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                             UNITED STATES DISTRICT COURT FOR
                                 THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                              )
                                                       )
                               Plaintiff,              )      8:08CR284
                                                       )
                       vs.                             )      FINAL ORDER OF
                                                       )      FORFEITURE
                                                       )
WILLIAM ARENDT,                                        )
ROBERT CROUSE,                                         )
DOUGLAS JENNINGS,                                      )
                                                       )
                               Defendants.             )


       NOW ON THIS 9th day of March, 2009, this matter comes on before the Court upon the

United States’ Motion for Final Order of Forfeiture. The Court reviews the record in this case and,

being duly advised in the premises, find as follows:

       1. On December 30, 2008, the Court entered a Preliminary Order of Forfeiture pursuant to

the provisions of Title 21, United States Code, Sections 846 and 853, based upon the Defendant's

plea of guilty to Counts I and VI of the Indictment filed herein. By way of said Preliminary Order

of Forfeiture, the Defendants’ interest in $2,000.00, $10,000.00 and $21,286.00 in United States

currency were forfeited to the United States.

       2. Notice of Criminal Forfeiture was posted on an official Government internet site

(www.forfeiture.gov) for at least thirty consecutive days, beginning on January 5, 2009, as required

by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime and Asset Forfeiture

Claims. A Declaration of Publication was filed herein on March 6, 2009 (Filing No. 87).

       3. The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.
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       4. The Plaintiff’s Motion for Final Order of Forfeiture should be sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

       B. All right, title and interest in and to the $2,000.00, $10,000.00 and $21,286.00 in United

States currency, held by any person or entity, is hereby forever barred and foreclosed.

       C. The $2,000.00, $10,000.00 and $21,286.00 in United States currency, be, and the same

hereby are, forfeited to the United States of America .

       D. The United States Marshal for the District of Nebraska is directed to dispose of said

properties in accordance with law.

       DATED this 9th day of March, 2009

                                                     BY THE COURT:



                                                     s/ Joseph F. Bataillon
                                                     JOSEPH F. BATAILLON, CHIEF JUDGE
                                                     United States District Court
